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1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    DENISE DIAZ,

4                     Plaintiff,

5                v.                                 13 Cv. 8281 (JCF)

6    CITY OF NEW YORK, et al.,

7                     Defendants.

8    ------------------------------x

9                                                   March 1, 2016
                                                    11:10 a.m.
10
     Before:
11
                             HON. JAMES C. FRANCIS
12
                                                    Magistrate Judge
13
                                   APPEARANCES
14
     RICARDO A. AGUIRRE
15        Attorney for Plaintiff

16   CYRUS R. VANCE, JR.
          District Attorney of New York County
17   BY: ELIZABETH NORRIS KRASNOW
          MAUREEN T. O'CONNOR
18        Assistant District Attorneys

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1              (Case called)

2              THE DEPUTY CLERK:     Counsel, please state your name for

3    the record, starting with the plaintiff.

4              MR. AGUIRRE:     For plaintiff, Denise Diaz, Ricardo

5    Aguirre, 644 Soundview Avenue, Bronx, New York.          Good morning,

6    your Honor.

7              THE COURT:    Good morning.

8              MS. KRASNOW:     Good morning, your Honor.      Assistant

9    District Attorney Elizabeth Krasnow of the New York County

10   District Attorney's Office, on behalf of Jose Flores.

11             THE COURT:    Good morning.

12             MS. O'CONNOR:     Assistant District Attorney Maureen

13   O'Connor for New York County, on behalf of Jose Flores.

14             THE COURT:    Good morning.

15             As you folks know, we are here for oral argument on

16   Defendant Flores's motion for summary judgment.

17             So I am happy to hear first from defendant.

18             MS. KRASNOW:     Sure.

19             Your Honor, Plaintiff Denise Diaz, a sergeant with the

20   New York City Police Department, alleges that she was falsely

21   arrested by Investigator Flores of the New York County District

22   Attorney's Office on November 24, 2010.

23             That morning, Investigator Flores and other

24   investigators from our office were present at Sergeant Diaz's

25   home to arrest her common-law husband, George Castro, in


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1    connection with a larceny complaint filed by Columbia

2    University.    Mr. Castro, over several months, stole over $5

3    million from Columbia by hacking into their accounts receivable

4    system.

5               Bank records that were subpoenaed by my office before

6    we went to Sergeant Diaz's house showed that Castro had issued

7    Sergeant Diaz a check in the amount of $60,000 in the days

8    leading up to his arrest.      Castro was apprehended leaving

9    Sergeant Diaz's house while in possession of $400,000 in cash

10   and a copy of Sergeant Diaz's New York City Police Department

11   shield bearing the inscription sergeant's family member.

12              Your Honor, Sergeant Diaz was not arrested.         By her

13   own admission, she was placed on duty by Bronx Duty Captain

14   Brandon del Pozo, who responded to the scene after Sergeant

15   Diaz called her precinct to report that her husband had been

16   arrested.

17              THE COURT:   Is it your position then that at no point

18   was she in custody, that is, at no point was she not free to

19   go?

20              MS. KRASNOW:    Your Honor, at no point was she in DANY

21   custody.    That's our position.

22              So what happened, your Honor, and what the evidence

23   shows, is that Captain del Pozo ordered her to report to the

24   43rd Precinct, under the authority of the police department, to

25   investigate the activities of its own officers.          There is no


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1    evidence, your Honor, that my office took any action with

2    respect to her custodial situation.        I really couldn't comment

3    on whether or not she was free to leave once she got to the

4    precinct.    That's for the New York City Police Department to

5    decide.    There is no evidence that my office had any

6    involvement.

7               THE COURT:   Well, perhaps you can't comment on the

8    intent of the police officers, but legally do you take a

9    position with respect to whether or not Sergeant Diaz was free

10   to go after del Pozo told her to accompany him to the precinct?

11              MS. KRASNOW:    Your Honor, I am not sure there is any

12   evidence in the record one way or the other.          She was placed on

13   duty.    So in order to answer that question, we would have to

14   know what the NYPD's policy is with respect to when an officer

15   is on duty.    Are they free to leave their post or are they free

16   to disobey the order of a superior officer that they report to

17   a certain location?

18              I don't know, your Honor.      But if the purpose of

19   asking the question is, was she under arrest, then our position

20   is no.    She was not in custody in the sense that she was

21   arrested.    She was not arrested.

22              THE COURT:   Go ahead.

23              MS. KRASNOW:    So to continue, your Honor, the evidence

24   shows that Captain del Pozo's decision to issue the order that

25   Sergeant Diaz be placed on duty was not in any way influenced


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1    by anyone from my office, let alone Investigator Flores.            And

2    Diaz's claim that she was arrested is further undermined by the

3    fact that she requested and received overtime payment in

4    connection with each and every hour that she spent on duty in

5    connection with Captain del Pozo's order, showing her

6    subjective understanding that the reality of the situation was

7    that she had been placed on duty and not arrested.

8              THE COURT:    I am not sure I follow that.        If she were

9    not free to go at that point, why does the fact that she was

10   paid for that time undermine any claim of false arrest?             I

11   guess I would be a little surprised if she turned back the

12   money and said, I'm sorry, I was not under arrest at that time,

13   or, I was under arrest at that time so I am giving you back the

14   money.

15             MS. KRASNOW:     Your Honor, assuming she wasn't free to

16   leave -- which, again, as I already explained to the Court,

17   there is no evidence in the record one way or the other as to

18   what the position of the police department is once somebody has

19   been placed on duty.     But to the extent she felt she was not

20   free to leave, it was under the authority of the police

21   department to place her on duty.        So it wasn't an arrest.         So

22   the fact that she requested this overtime shows her

23   understanding that the reason that she was at the precinct was

24   because she was on duty.

25             Let's take Castro out of the equation, and let's say


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1    that it was Sergeant Diaz stealing this money from Columbia and

2    she was taken to the precinct.       She wouldn't have requested an

3    overtime payment in connection with her arrest.          She understood

4    the reason that she was at the precinct was because she was on

5    duty, and that's why she requested and received the overtime,

6    your Honor.

7              Your Honor, unless there are any further questions,

8    that sums up my argument.      In essence, she simply wasn't

9    arrested, and to the extent she was taken into custody, as your

10   Honor phrased it, it was on the authority of the police

11   department to investigate its own officers, and it had nothing

12   to do with my office.

13             THE COURT:    Do you have a view as to at what point in

14   time that occurred relative to Investigator Flores's appearance

15   on the scene?

16             MS. KRASNOW:     I'm sorry.    Do I have a view as to what

17   period of time the order was issued in relation to Investigator

18   Flores's arrival?

19             THE COURT:    Yes.

20             MS. KRASNOW:     Your Honor, I believe the record shows

21   that Investigator Flores arrived to the scene either shortly

22   before or shortly after del Pozo, it's really immaterial, but

23   that they were both on the scene in the house and then Del Pozo

24   issued the order.     So Flores was present when the order was

25   issued, if that's your question.        And I would just refer your


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1    Honor to page 8 of my 56.1 statement for the relevant timeline.

2              THE COURT:    Good.

3              Before I hear from Mr. Aguirre, I have one request,

4    which is I have gotten bits and pieces of depositions.              It

5    would be really helpful for you to supply me with the full

6    depositions of the individuals for whom you have given me

7    pieces.

8              MS. KRASNOW:     Sure.   I am sorry, your Honor.      I know

9    some judges appreciate the excerpts and some don't.

10             THE COURT:    I understand.     That's fine.

11             MS. KRASNOW:     I will get you the full transcripts.

12             THE COURT:    Thank you.

13             Mr. Aguirre.

14             MR. AGUIRRE:     Good morning, your Honor.

15             I would like to begin by first reading from the

16   transcript of a witness that DANY deposed.         His name is

17   Sergeant Anthony Borelli.

18             Now, Sergeant Anthony Borelli was the union delegate

19   that was summoned to go to Plaintiff Diaz's home because of

20   some type of activity involving the District Attorney's Office

21   of New York.

22             He stated:    "I'm talking about DANY."

23             He was asked about what was the sum and substance of

24   what was going on there and what was going on with the

25   investigation.


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1              He stated:    "I'm talking about DANY.       They -- I will

2    refer to them as DANY.      They, I guess, were running the

3    investigation and everything on the police department side was

4    on hold until they finished the side that DANY was going to

5    do."

6              Then while at the precinct with Sergeant Diaz --

7    remind you, over eight hours they sat in a room, and then she

8    was moved to an office.      And her godmother was there with her.

9    They wouldn't allow her to go in.        Only Sergeant Borelli could

10   be there.   And two officers from Internal Affairs were not

11   asking her any questions at all.

12             Sergeant Borelli stated -- the question was -- this is

13   page 56 of this transcript, line 12 -- "did you have any

14   conversations with anyone besides Sergeant Diaz while you were

15   at the precinct?"

16             He responded, "I spoke to IAB" -- Internal Affairs

17   Bureau -- "and I asked them, Do you know what's going on here?

18   And they said, they were waiting to get determination.              They

19   were on standby, just like we are on standby, and we sat around

20   and waited."

21             I understand that defendants' position is to shift the

22   blame to Captain del Pozo because Captain del Pozo is not here.

23   I understand that it appears that Captain del Pozo acted in a

24   vacuum; that he came in, got some information from somewhere,

25   and immediately decided to send Sergeant Diaz to the 43


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1    Precinct and modify her eventually.

2               In the record, it shows that upon arrival to 109

3    Admiral Lane, Sergeant Diaz's home, Investigator Flores

4    testified that one of the first people he saw when he walked in

5    was Captain del Pozo, and he had a conversation, whether it was

6    in front of the door or inside.       They were there for a while.

7               There is testimony on behalf of Sergeant Diaz to the

8    point where they were having conversations in and out of the

9    kitchen.    It came to some point where it was alleged that

10   Investigator Flores made the statement "you're associating with

11   a known felon."

12              Affidavit by Josephine Rodriguez basically said that

13   he said to her that she had been associating with very, very

14   bad people, this is very bad, where Sergeant Diaz then

15   exploded.

16              Shortly thereafter, her attorney gets on the phone and

17   tells everybody you have to leave, you don't have a search

18   warrant.    But prior to that, Sergeant Diaz got up and said,

19   Listen, you can go upstairs and you can search wherever you

20   want because I have nothing to hide.

21              Upon information and belief, Investigator Flores

22   basically said, No, I've got this.

23              When they were on their way to the 43 Precinct,

24   apparently someone asked Investigator Flores something to the

25   effect of her status, whether she was arrested or not.              And he


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1    said, No, she's under.      That's where Sergeant Diaz exploded and

2    started screaming, What the -- you mean I'm under?          And she had

3    a conversation with Captain del Pozo, who pulled her to the

4    side and tried to calm her down, don't worry, take it easy.

5    She ended up going to the precinct.

6              What is interesting is a modification of assignment in

7    the police department, a person would either have to be

8    indicted, arrested, intoxicated to the point where they can't

9    perform their duty, or have visited a licensed premises.            If

10   there is no discipline involved, but it's for something for an

11   administrative purpose, sometimes they go ahead and modify the

12   person for the good of the department.        It's never been

13   explained why, but that's what happened to her, and her career

14   then went downhill from there.

15             But to stand here and say that Captain del Pozo made

16   this unilateral decision to go ahead and send Sergeant Diaz to

17   the precinct, to sit for eight hours in a closed room, she

18   couldn't get up, she couldn't use the phone, she couldn't go to

19   the bathroom by herself, couldn't do anything, and treated her

20   as if she was a perpetrator just like a regular prisoner.

21             THE COURT:    Captain del Pozo says that, doesn't he?

22             MR. AGUIRRE:    Captain del Pozo says that in an

23   affidavit after discovery was done and after he was approached

24   to go ahead and send in an affidavit.

25             THE COURT:    I must say that's the kettle calling the


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1    pot black if you're talking about after-the-fact affidavits.          I

2    just got one last night.

3               MR. AGUIRRE:   That's correct, your Honor.       I stand

4    accused.

5               Based on the totality of the circumstances here,

6    looking at what happened, the police officers from NYPD that

7    arrived on that scene knew nothing until they were informed by

8    either the investigators from DANY or by Sergeant Flores.

9    Sergeant Flores made it very clear in his testimony he was the

10   only sergeant from DANY that was there.

11              Ms. Rodriguez stated that he acted as if this was a

12   big arrest for him, or something to that effect.

13              Well, if they claim that she went ahead and had gotten

14   a check from Mr. Castro, a $60,000 check, prior to them going,

15   what is baffling then is, why didn't you come with a search

16   warrant in the first place?      Why didn't you contact -- which is

17   supposed to be the way to do it between different agencies --

18   contact the Internal Affairs Bureau and have them start an

19   investigation as to the allegation that she might possibly be

20   involved with a known felon?

21              Lastly, in their memorandum of law, defense counsel

22   mentioned something to the effect that Investigator Flores

23   allegedly -- and then in parentheses accurately -- observed

24   Sergeant Diaz associating with a known felon.         Well, he said he

25   didn't say that.    There is no proof, no evidence to show that


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1    from his observation he was able to tell that she knew that

2    Castro was a criminal.

3              And on top of that, Sergeant Diaz told Captain del

4    Pozo she wanted to see Inspector Charlie Ortiz.          Charlie Ortiz

5    is the first cousin of Mr. Castro.        Sergeant Felix Ortiz, from

6    joint terrorism task force, first cousin of George Castro.          The

7    mother of his first child was working as an SPAA at the 40

8    Precinct.   Retired Sergeant Eugene Tapia, first cousin of

9    George Castro.    None of them were investigated, none of them

10   were called in by IAB for investigation, and none of them were

11   modified.

12             THE COURT:    Did any of them get a $60,000 check from

13   him?

14             MR. AGUIRRE:    Your Honor, upon information and belief,

15   and I have nothing to support this, George Castro donated money

16   to everyone in his family.      I can't say they received money

17   from him because I don't know.       So I won't stand here and say

18   yes.   But my client has gone through four different interviews

19   with the District Attorney's Office.        She was told she is going

20   to have to come and get the money there to pay her cable bill.

21   She was told, oh, you're going to get collared.

22             The second they told her that money was stolen, she

23   turned it over, without even a forfeiture hearing.          The lawyer

24   told her you could object.      She tried to get loans to be able

25   to get the money back that she had paid her mortgage off with,


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1    but requesting -- and I know this from personal knowledge --

2    requesting a letter from DANY to take to the bank as to why she

3    needed the money, never got it.       It was after the fact.        So she

4    made every attempt to give back that money.         And she went

5    through four different interviews with DANY and four different

6    interviews with Internal Affairs.

7               Your Honor, if they had something, they would have

8    indicted her or arrested her.

9               THE COURT:   Let me ask the question that I asked Ms.

10   Krasnow.    At what point in time do you contend that Sergeant

11   Diaz was arrested?

12              MR. AGUIRRE:   I believe it started when Sergeant Diaz

13   was going to go upstairs to allow the investigators to go in

14   and search her apartment and Investigator Flores said, no, stay

15   there, we got this.     And then from there on to -- because she

16   wasn't free to go; she wasn't free to go anywhere.          It was

17   like, no, no, no, let's get her over to the 43 so that way we

18   can make sure she is in that one place.        Because when we are

19   done with our search, and we find inculpatory evidence, we will

20   be able to arrest her.      We will be on the five o'clock news

21   walking around with handcuffs.

22              That didn't happen.     She was sitting in that precinct

23   while DANY searched her home, did not hand her a search

24   warrant, and came up with nothing.        They said, OK, you can go,

25   but we're still looking at you.


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1               THE COURT:   What is the evidence that Investigator

2    Flores was responsible for motivating her being placed on duty

3    and removed to the 43rd Precinct?

4               MR. AGUIRRE:   Captain del Pozo made a major error in

5    putting her back on duty.      She was out sick, regular sick, with

6    a gastro problem.     In order for an officer to go back to full

7    duty, authorization must be granted by a NYPD police surgeon; a

8    captain cannot put a person back to full duty.          Captain del

9    Pozo was not aware of that.      He put her on full duty because

10   that's just the standard procedure of NYPD when you start the

11   investigation on a person or when you have to detain someone to

12   look into stuff.    That's just the procedure.       But he was wrong

13   in doing so because he didn't get permission from the police

14   surgeon.    Sergeant Anthony Borelli also testified to that.

15              So it should never have happened.       Actually, what

16   should have happened is Sergeant Diaz should have been able to

17   stay in her home -- if they wanted to confine her to her living

18   room that's fine -- while the search was being conducted.

19   There was no reason for her to have to go to the 43 Precinct

20   and not be allowed to leave, move around, or go to the

21   bathroom.

22              THE COURT:   Let me ask that question again.        What

23   evidence is there that Investigator Flores was in any way

24   responsible for placing Sergeant Diaz back on duty and removing

25   her to the 43rd Precinct?


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1              MR. AGUIRRE:    By giving the information to Captain del

2    Pozo about what the situation was and what their suspicion was

3    about her.    And that's tied directly to the allegation that he

4    said the words "you're associating with a known felon" and,

5    also, that she's under.

6              That was his mind-set, and that information was

7    conveyed to Captain del Pozo.       I think an intelligent inference

8    can be drawn from that, your Honor.        NYPD arrived on that scene

9    and they were not in charge of that investigation.          And, again,

10   I stress, at no time was Sergeant Diaz ever asked a question at

11   NYPD's 43rd Precinct.     She was never read her rights as to an

12   internal investigation, an interrogation, as they usually do.

13   They call it GO-15.

14             She sat and she waited.      And as I read Sergeant

15   Borelli's testimony, they were waiting for word from DANY as to

16   whether or not she was going to continue through processing --

17   fingerprinted, photographed, and taken to central booking.

18   That didn't happen.

19             THE COURT:    Thank you.

20             Ms. Krasnow.

21             MS. KRASNOW:    Your Honor, I just want to raise the

22   issue of this affidavit that was submitted last night.              While

23   it's our position that it doesn't detract from the points that

24   we have raised for summary judgment, because it more or less

25   echos the testimony of the plaintiff that we relied on in our


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1    56.1 statement, it also should not be considered by the Court,

2    your Honor.

3              Plaintiff's counsel never served with me any initial

4    disclosures, let alone identifying this witness.          He didn't

5    identify any witnesses.      This person is Sergeant Diaz's

6    godmother.    There is no explanation as to why he was unable to

7    depose her or give me contact information so that I would know

8    in advance to take a deposition.

9              He then opposed my motion for summary judgment, and

10   even though it would have been too late at that time, he still

11   didn't submit an affidavit.      Then the Court gave him another

12   opportunity sua sponte to fix the deficiencies in his 56.1

13   statement, and he still didn't submit it; and, instead, waited

14   until 3:30 in the afternoon, the day before the oral argument,

15   without explanation, to just file an affidavit, with no

16   explanation as to why it's late, why he couldn't get it

17   earlier, how it plays into his argument, an affidavit that is

18   completely full of hearsay that I have had no opportunity to

19   object to its consideration by the Court, let alone the

20   consideration of evidence in it that is inadmissible and can't

21   be considered on summary judgment.

22             So, your Honor, this affidavit should not be

23   considered in resolving the motion, and if the Court would

24   like, I can submit a letter as to why with further elaboration.

25             THE COURT:    That's sufficient.


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1               Is there anything else you would like to say with

2    respect to the substantive argument?

3               MS. KRASNOW:    Yes, your Honor.

4               The Court asked opposing counsel what evidence he had

5    as to why my client was responsible for Captain del Pozo's

6    decision to order that Sergeant Diaz be placed on duty.             In

7    response, opposing counsel indicated that Flores is responsible

8    because he gave Del Pozo information as to what the situation

9    was.

10              Now, your Honor, that took place in a conversation in

11   Sergeant Diaz's kitchen, which Sergeant Diaz has admitted she

12   could not overhear and has no idea what was said.          And I would

13   just refer your Honor again to page 8 of my 56.1 statement for

14   the substance of that conversation, where Flores simply

15   communicated to Del Pozo the fact that DANY had responded to

16   the house because Castro had been arrested, and they discovered

17   that Sergeant Diaz had some association with him.          That's it.

18   Nothing was said:     And you should take her into the precinct.

19   She is under arrest.      No direction to Captain del Pozo as to

20   how the situation should be handled.        Just the plain undisputed

21   facts as to what occurred when DANY responded to the house that

22   morning.

23              That's it, your Honor.

24              THE COURT:   Anything further?

25              MR. AGUIRRE:    Your Honor, Josephine Rodriguez was made


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1    known the first day that we submitted the complaint.           She has

2    been a witness they could have called a long time ago.              Ms.

3    Rodriguez was in New York.      She lives in Virginia now.          And I

4    took that opportunity to have her give me a statement and an

5    affidavit.    I meant no harm in not informing counsel about

6    that.   I take full responsibility for that.        But I just felt it

7    was important to make sure that the Court have it.

8              THE COURT:    Thank you all.     I will get a decision out

9    as soon as I can.

10             (Adjourned)

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